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                                                         United States District Court
                                                         Central District of California


 UNITED STATES OF AMERICA vs.                                                Docket No.             SACR 20-32JVS

 Defendant           Daniel Seibert                                          Social Security No. 6         8   0     0
 akas:   Daniel Flores Siebert                                               (Last 4 digits)




                                                                                                                    MONTH      DAY     YEAR
            In the presence of the attorney for the government, the defendant appeared in person on this date.           01     21      2021

  COUNSEL                                                              Jonathan Lynn, Retained
                                                                             (Name of Counsel)

    PLEA             X GUILTY, and the court being satisfied that there is a factual basis for the plea.          NOLO                   NOT
                                                                                                               CONTENDERE               GUILTY
  FINDING             There being a finding/verdict of GUILTY, defendant has been convicted as charged of the offense(s) of:
                     Production of Child Pornography in violation of 18 USC Section 2251(a), 18 USC 2251(e) as charged in Count 1 of the
                     Information; and travel with Intent to Engage in Illicit Sexual Conduct in violation of 18 USC Section 2423(b) as charged in
                     Count 2 of the Information; and Use of a Facility of Interstate Commerce to Induce a Minor to Engage in Criminal Sexual
                     Activity in violation of 18 USC Section 2422(b) as charged in Count 3 of the Information

JUDGMENT             The Court asked whether there was any reason why judgment should not be pronounced. Because no sufficient cause to the
AND PROB/            contrary was shown, or appeared to the Court, the Court adjudged the defendant guilty as charged and convicted and ordered that:
  COMM               Pursuant to the Sentencing Reform Act of 1984, it is the judgment of the Court that the defendant is hereby committed to the
  ORDER              custody of the Bureau of Prisons to be imprisoned for a term of:      292 MONTHS This term consists of 292
                     months on each of Counts 1 and 2, and 120 months on Count 3, all such terms to be served
                     concurrently.

It is ordered that the defendant shall pay to the United States a special assessment of $300, which is due
immediately. Any unpaid balance shall be due during the period of imprisonment, at the rate of not less than $25
per quarter, and pursuant to the Bureau of Prisons' Inmate Financial Responsibility Program.

It is ordered that the defendant shall pay restitution in the total amount of $28,000 pursuant to 18 U.S.C. § 2259.

Defendant shall pay restitution in the total amount of $28,000 pursuant to 18 U.S.C. §3663A to victims as set forth
in a separate victim list prepared by the probation office which this Court adopts and which reflects the Court's
determination of the amount of restitution due to each victim. The victim list, which shall be forwarded to the
fiscal section of the clerk's office shall remain confidential to protect the privacy interests of the victims.

The Court finds from a consideration of the record that the defendant’s economic circumstances allow for
restitution payments pursuant to the following schedule: Restitution shall be due during the period of
imprisonment, at the rate of not less than $25 per quarter, and pursuant to the Bureau of Prisons' Inmate Financial
Responsibility Program. If any amount of the restitution remains unpaid after release from custody, nominal
monthly payments of at least 10% of defendant's gross monthly income but not less than $100, whichever is
greater, shall be made during the period of supervised release and shall begin 30 days after the commencement


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of supervision. Nominal restitution payments are ordered as the Court finds that the defendant's economic
circumstances do not allow for either immediate or future payment of the amount ordered.

Pursuant to 18 U.S.C. § 3612(f)(3)(A), interest on the restitution ordered is waived because the defendant does
not have the ability to pay interest. Payments may be subject to penalties for default and delinquency pursuant to
18 U.S.C. § 3612(g). The defendant shall comply with Second Amended General Order No. 20-04.

Pursuant to Guideline § 5E1.2(a), all fines are waived as the Court finds that the defendant has established that
he is unable to pay and is not likely to become able to pay any fine.

Pursuant to 18 U.S.C. §§ 3014(a)(3), 2259A(a), the additional special assessments are waived as the Court finds
that the defendant has established that he is unable to pay and is not likely to become able to pay the assessments.

Pursuant to the Sentencing Reform Act of 1984, it is the judgment of the Court that the defendant, Daniel Seibert,
is hereby committed on Counts 1, 2, and 3 of the Information to the custody of the Bureau of Prisons for a term
of 292 months. This term consists of 292 months on each of Counts 1 and 2, and 120 months on Count 3, all such
terms to be served concurrently.

The Court recommends that the Bureau of Prisons conduct a mental health evaluation of the defendant and provide
all necessary treatment.

Upon release from imprisonment, the defendant shall be placed on supervised release for a term of LIFE. This term
consists of life on each of Counts 1, 2, and 3 of the Information, all such terms to run concurrently under the
following terms and conditions:

              1. The defendant shall comply with the rules and regulations of the United States Probation & Pretrial
                 Services Office and Second Amended General Order 20-04.

              2.     During the period of community supervision, the defendant shall pay the special assessment and
                     restitution in accordance with this judgment's orders pertaining to such payment.

              3.     The defendant shall not obtain or possess any driver's license, Social Security number, birth
                     certificate, passport or any other form of identification in any name, other than the defendant's true
                     legal name, nor shall the defendant use, any name other than the defendant's true legal name without
                     the prior written approval of the Probation Officer.

              4.     The defendant shall cooperate in the collection of a DNA sample from the defendant.

              5.     The defendant shall participate in mental health treatment, which may include evaluation and
                     counseling, until discharged from the program by the treatment provider, with the approval of the
                     Probation Officer.


              6. The defendant shall register as a sex offender, and keep the registration current, in each jurisdiction
                 where he resides, where he is an employee, and where he is a student, to the extent the registration

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                     procedures have been established in each jurisdiction. When registering for the first time, the
                     defendant shall also register in the jurisdiction in which the conviction occurred if different from
                     his jurisdiction of residence. The defendant shall provide proof of registration to the Probation
                     Officer within 48 hours of registration.

              7.     The defendant shall participate in a psychological counseling or psychiatric treatment or a sex
                     offender treatment program, as approved and directed by the Probation Officer. The defendant shall
                     abide by all rules, requirements, and conditions of such program, including submission to risk
                     assessment, and physiological testing, such as polygraph and Abel testing.

              8.     As directed by the Probation Officer, the defendant shall pay all or part of the costs of psychological
                     counseling or psychiatric treatment, or a sex offender treatment program, or any combination thereof
                     to the aftercare contractor during the period of community supervision. The defendant shall provide
                     payment and proof of payment as directed by the Probation Officer. If the defendant has no ability
                     to pay, no payment shall be required.

              9.     The defendant shall participate in an evaluation by a trained professional, approved by the Probation
                     Office, to assess the defendant's risk to the community as a sex offender. The evaluation may
                     include physiological testing, such as polygraph and Abel testing. The Court authorizes the
                     Probation Officer to disclose the Presentence Report, and any previous mental health evaluations
                     or reports, to the evaluation provider. As directed by the Probation Officer, the defendant shall pay
                     all or part of the costs of the sex offender risk evaluation to the aftercare contractor during the period
                     of community supervision. The defendant shall provide payment and proof of payment as directed
                     by the Probation Officer. If the defendant has no ability to pay, no payment shall be required.

              10.    The defendant shall not view or possess any materials, including pictures, photographs, books,
                     writings, drawings, videos, or video games depicting and/or describing child pornography, as
                     defined at 18 U.S.C. § 2256(8), or sexually explicit conduct, as defined at 18 U.S.C. §2256(2). This
                     condition does not prohibit the defendant from possessing materials solely because they are
                     necessary to, and used for, a collateral attack, nor does it prohibit him from possessing materials
                     prepared and used for the purposes of his Court-mandated sex offender treatment, when the
                     defendant's treatment provider or the probation officer has approved of his possession of the
                     materials in advance.

              11.    The defendant shall not associate or have verbal, written, telephonic, or electronic communication
                     with any person under the age of 18, except: (a) in the presence of the parent or legal guardian of
                     said minor; and (b) on the condition that the defendant notify said parent or legal guardian of his
                     conviction in the instant offense. This condition does not encompass persons under the age of 18,
                     such as waiters, cashiers, ticket vendors, etc., whom the defendant must interact with in order to
                     obtain ordinary and usual commercial services.

              12.    The defendant shall not frequent, or loiter, within 100 feet of school yards, parks, public swimming
                     pools, playgrounds, youth centers, video arcade facilities, or any other places primarily used by
                     persons under the age of 18.


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              13.    The defendant shall not affiliate with, own, control, volunteer or be employed in any capacity by
                     a business or organization that causes him to regularly contact persons under the age of 18.

              14.    The defendant shall not affiliate with, own, control, or be employed in any capacity by a business
                     whose principal product is the production or selling of materials depicting or describing “sexually
                     explicit conduct,” as defined at 18 U.S.C. § 2256(2).


              15.           The defendant shall not own, use, or have access to the services of any commercial mail-
                     receiving agency, nor shall he open or maintain a post office box, without the prior written approval
                     of the Probation Officer.


              16.          The defendant's employment shall be approved by the Probation Officer, and any change in
                     employment must be pre-approved by the Probation Officer. The defendant shall submit the name
                     and address of the proposed employer to the Probation Officer at least 10 days prior to any
                     scheduled change.

              17.    The defendant shall not reside within direct view of school yards, parks, public swimming pools,
                     playgrounds, youth centers, video arcade facilities, or other places primarily used by persons under
                     the age of 18. The defendant’s residence shall be approved by the Probation Officer, and any
                     change in residence must be pre-approved by the Probation Officer. The defendant shall submit the
                     address of the proposed residence to the Probation Officer at least ten days prior to any scheduled
                     move.


              18.           The defendant shall submit to a search, at any time, with or without warrant, and by any law
                     enforcement or probation officer, of the defendant's person and any property, house, residence,
                     vehicle, papers, computers [as defined in 18 U.S.C. § 1030(e)(1)], cell phones, other electronic
                     communication or data storage devices or media, effects and other areas under the offender’s
                     control, upon reasonable suspicion concerning a violation of a condition of supervision or unlawful
                     conduct by the defendant, or by any probation officer in the lawful discharge of the officer's
                     supervision functions.

              19.    The defendant shall possess and use only those computers and computer-related devices, screen user
                     names, passwords, email accounts, and internet service providers (ISPs) that have been disclosed
                     to the Probation Officer upon commencement of supervision. Any changes or additions are to be
                     disclosed to the Probation Officer prior to the first use. Computers and computer-related devices
                     include personal computers, personal data assistants (PDAs), internet appliances, electronic games,
                     cellular telephones, and digital storage media, as well as their peripheral equipment, that can access,
                     or can be modified to access, the internet, electronic bulletin boards, and other computers.

              20.    All computers, computer-related devices, and their peripheral equipment, used by the defendant
                     shall be subject to search and seizure. This shall not apply to items used at the employment's site,
                     which are maintained and monitored by the employer.


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               21.   The defendant shall comply with the rules and regulations of the Computer Monitoring Program.
                     The defendant shall pay the cost of the Computer Monitoring Program, in an amount not to exceed
                     $32 per month per device connected to the internet.

         22.         The defendant shall not contact any of the victims of the offense by any means, including in person,
                     by mail, or electronic means, or via third parties. Further, the defendant shall remain at least 100
                     yards from the victims at all times. If any contact occurs, the defendant shall immediately leave the
                     area of contact and report the contact to the Probation Officer.


         23. The defendant shall apply all monies received from income tax refunds, lottery winnings,
         inheritance, judgments and any anticipated or unexpected financial gains to the outstanding Court-
         ordered financial obligation.

The drug testing condition mandated by statute is suspended based on the Court's determination that the defendant
poses a low risk of future substance abuse.

The Court authorizes the Probation Officer to disclose the Presentence Report, and any previous mental health
evaluations or reports, to the treatment provider. The treatment provider may provide information (excluding the
Presentence report), to State or local social service agencies (such as the State of California, Department of Social
Service), for the purpose of the client's rehabilitation.

Defendant is advised of his appeal rights. The Court recommends that the defendant be housed at a facility in
Tucson, Arizona.


 In addition to the special conditions of supervision imposed above, it is hereby ordered that the Standard Conditions of Probation and
 Supervised Release within this judgment be imposed. The Court may change the conditions of supervision, reduce or extend the period of
 supervision, and at any time during the supervision period or within the maximum period permitted by law, may issue a warrant and revoke
 supervision for a violation occurring during the supervision period.




            January 23, 2021
            Date                                                   U. S. District Judge James V Selna

 It is ordered that the Clerk deliver a copy of this Judgment and Probation/Commitment Order to the U.S. Marshal or other qualified officer.

                                                                   Clerk, U.S. District Court



            1/25/21                                          By    Lisa Bredahl
            Filed Date                                             Deputy Clerk



 The defendant must comply with the standard conditions that have been adopted by this court (set forth below).

                               STANDARD CONDITIONS OF PROBATION AND SUPERVISED RELEASE

                               While the defendant is on probation or supervised release pursuant to this judgment:



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 1.    The defendant must not commit another federal, state, or local          9.    The defendant must not knowingly associate with any persons engaged
       crime;                                                                        in criminal activity and must not knowingly associate with any person
 2.    The defendant must report to the probation office in the federal              convicted of a felony unless granted permission to do so by the probation
       judicial district of residence within 72 hours of imposition of a             officer. This condition will not apply to intimate family members, unless
       sentence of probation or release from imprisonment, unless                    the court has completed an individualized review and has determined
       otherwise directed by the probation officer;                                  that the restriction is necessary for protection of the community or
 3.    The defendant must report to the probation office as instructed by            rehabilitation;
       the court or probation officer;                                         10.   The defendant must refrain from excessive use of alcohol and must not
 4.    The defendant must not knowingly leave the judicial district                  purchase, possess, use, distribute, or administer any narcotic or other
       without first receiving the permission of the court or probation              controlled substance, or any paraphernalia related to such substances,
       officer;                                                                      except as prescribed by a physician;
 5.    The defendant must answer truthfully the inquiries of the probation     11.   The defendant must notify the probation officer within 72 hours of being
       officer, unless legitimately asserting his or her Fifth Amendment             arrested or questioned by a law enforcement officer;
       right against self-incrimination as to new criminal conduct;            12.   For felony cases, the defendant must not possess a firearm, ammunition,
 6.    The defendant must reside at a location approved by the probation             destructive device, or any other dangerous weapon;
       officer and must notify the probation officer at least 10 days before   13.   The defendant must not act or enter into any agreement with a law
       any anticipated change or within 72 hours of an unanticipated                 enforcement agency to act as an informant or source without the
       change in residence or persons living in defendant’s residence;               permission of the court;
 7.    The defendant must permit the probation officer to contact him or       14.   The defendant must follow the instructions of the probation officer to
       her at any time at home or elsewhere and must permit confiscation             implement the orders of the court, afford adequate deterrence from
       of any contraband prohibited by law or the terms of supervision and           criminal conduct, protect the public from further crimes of the
       observed in plain view by the probation officer;                              defendant; and provide the defendant with needed educational or
 8.    The defendant must work at a lawful occupation unless excused by              vocational training, medical care, or other correctional treatment in the
       the probation officer for schooling, training, or other acceptable            most effective manner.
       reasons and must notify the probation officer at least ten days
       before any change in employment or within 72 hours of an
       unanticipated change;




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             The defendant must also comply with the following special conditions (set forth below).

             STATUTORY PROVISIONS PERTAINING TO PAYMENT AND COLLECTION OF FINANCIAL SANCTIONS

           The defendant must pay interest on a fine or restitution of more than $2,500, unless the court waives interest or unless the fine or
 restitution is paid in full before the fifteenth (15th) day after the date of the judgment under 18 U.S.C. § 3612(f)(1). Payments may be subject
 to penalties for default and delinquency under 18 U.S.C. § 3612(g). Interest and penalties pertaining to restitution, however, are not
 applicable for offenses completed before April 24, 1996. Assessments, restitution, fines, penalties, and costs must be paid by certified check
 or money order made payable to “Clerk, U.S. District Court.” Each certified check or money order must include the case name and number.
 Payments must be delivered to:

           United States District Court, Central District of California
           Attn: Fiscal Department
           255 East Temple Street, Room 1178
           Los Angeles, CA 90012

 or such other address as the Court may in future direct.

          If all or any portion of a fine or restitution ordered remains unpaid after the termination of supervision, the defendant must pay the
 balance as directed by the United States Attorney’s Office. 18 U.S.C. § 3613.

          The defendant must notify the United States Attorney within thirty (30) days of any change in the defendant’s mailing address or
 residence address until all fines, restitution, costs, and special assessments are paid in full. 18 U.S.C. § 3612(b)(l)(F).

          The defendant must notify the Court (through the Probation Office) and the United States Attorney of any material change in the
 defendant’s economic circumstances that might affect the defendant’s ability to pay a fine or restitution, as required by 18 U.S.C. § 3664(k).
 The Court may also accept such notification from the government or the victim, and may, on its own motion or that of a party or the victim,
 adjust the manner of payment of a fine or restitution under 18 U.S.C. § 3664(k). See also 18 U.S.C. § 3572(d)(3) and for probation 18 U.S.C.
 § 3563(a)(7).

           Payments will be applied in the following order:

                     1. Special assessments under 18 U.S.C. § 3013;
                     2. Restitution, in this sequence (under 18 U.S.C. § 3664(i), all non-federal victims must be paid before the United
                       States is paid):
                               Non-federal victims (individual and corporate),
                               Providers of compensation to non-federal victims,
                               The United States as victim;
                     3. Fine;
                     4. Community restitution, under 18 U.S.C. § 3663(c); and
                     5. Other penalties and costs.

            CONDITIONS OF PROBATION AND SUPERVISED RELEASE PERTAINING TO FINANCIAL SANCTIONS

          As directed by the Probation Officer, the defendant must provide to the Probation Officer: (1) a signed release authorizing credit
 report inquiries; (2) federal and state income tax returns or a signed release authorizing their disclosure and (3) an accurate financial
 statement, with supporting documentation as to all assets, income and expenses of the defendant. In addition, the defendant must not apply
 for any loan or open any line of credit without prior approval of the Probation Officer.

           When supervision begins, and at any time thereafter upon request of the Probation Officer, the defendant must produce to the
 Probation and Pretrial Services Office records of all bank or investments accounts to which the defendant has access, including any business
 or trust accounts. Thereafter, for the term of supervision, the defendant must notify and receive approval of the Probation Office in advance
 of opening a new account or modifying or closing an existing one, including adding or deleting signatories; changing the account number or
 name, address, or other identifying information affiliated with the account; or any other modification. If the Probation Office approves the
 new account, modification or closing, the defendant must give the Probation Officer all related account records within 10 days of opening,
 modifying or closing the account. The defendant must not direct or ask anyone else to open or maintain any account on the defendant’s
 behalf.

         The defendant must not transfer, sell, give away, or otherwise convey any asset with a fair market value in excess of $500 without
 approval of the Probation Officer until all financial obligations imposed by the Court have been satisfied in full.

                                These conditions are in addition to any other conditions imposed by this judgment.




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                                                                     RETURN

 I have executed the within Judgment and Commitment as follows:
 Defendant delivered on                                                                      to
 Defendant noted on appeal on
 Defendant released on
 Mandate issued on
 Defendant’s appeal determined on
 Defendant delivered on                                                                    to
     at
     the institution designated by the Bureau of Prisons, with a certified copy of the within Judgment and Commitment.

                                                                     United States Marshal


                                                               By
            Date                                                     Deputy Marshal



                                                                  CERTIFICATE

 I hereby attest and certify this date that the foregoing document is a full, true and correct copy of the original on file in my office, and in my
 legal custody.

                                                                     Clerk, U.S. District Court


                                                               By
            Filed Date                                               Deputy Clerk




                                                 FOR U.S. PROBATION OFFICE USE ONLY


Upon a finding of violation of probation or supervised release, I understand that the court may (1) revoke supervision, (2) extend the term of
supervision, and/or (3) modify the conditions of supervision.

         These conditions have been read to me. I fully understand the conditions and have been provided a copy of them.


         (Signed)
                     Defendant                                                      Date



                     U. S. Probation Officer/Designated Witness                     Date




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